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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                             Case No. 4:19-cr-00572 KGB


CLIFTON LOUIS WILLIAMS, et al.                                                   DEFENDANTS
                                            ORDER

       Pending before the Court is defendant Kate Marie Vanvalkenburg’s motion for continuance

of the trial of this matter scheduled for November 25, 2019 (Dkt. No. 9). All co-defendants in this

matter except for defendant Austin Taylor Phillips also have trial settings scheduled for

November 25, 2019. Mr. Phillips is scheduled for trial on December 2, 2019. No severance has

been requested or granted in this matter on behalf of any of the defendants.

       The Court has determined that, due to the number of defendants and attorneys involved in

this matter, the most efficient manner in which to address the motion for continuance will be to

establish a deadline for any defendant opposing the motion to file a response in opposition.

       It is therefore ordered that any defendant to this action opposing Ms. Vanvalkenburg’s

motion for continuance must file a response in opposition on or before November 5, 2019.

       The Court will assume that any defendant who does not file a response in opposition to the

motion for continuance on or before November 5, 2019, joins in the motion for continuance and

waives speedy trial requirements up to and including the next scheduled trial date.

      It is so ordered this 29th day of October 2019.


                                                        _________________________________
                                                        Kristine G. Baker
                                                        United States District Judge
